Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 1 of 38 PageID #: 2019



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

      ST. ISIDORE RESEARCH, LLC,         §
             Plaintiff,                  §
                                         §
      v.                                 §       2:15-cv-01390-JRG-RSP
                                         §              Lead Case
      COMERICA INCORPORATED, et al.      §
          Defendants.                    §

                DEFENDANTS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF
                         PURSUANT TO PATENT RULE 4-5(B)




      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 2 of 38 PageID #: 2020



                                                       TABLE OF CONTENTS

      I.         INTRODUCTION ...................................................................................................... 1
      II.        LAW OF CLAIM CONSTRUCTION........................................................................ 1

            A.      Ordinary and Customary Meaning.......................................................................... 2

            B.      Intrinsic v. Extrinsic Evidence ................................................................................ 2

            C.      Means Plus Function Claims .................................................................................. 3
      III.          CONSTRUCTION OF THE DISPUTED CLAIM TERMS .................................. 5

            A.      “Communications Link” (’360 patent) ................................................................... 5

            B.      “Transaction” (’360 patent) .................................................................................... 7

            C.      “Recognizes an Occurrence of an Event” / “Recognizing, by a Computer,
                    an Occurrence of an Event” (’360 patent) ............................................................ 10

            D.      “Transaction Processing Module” (’360 patent) / “A Processor Configured
                    to Verify the Authenticity of the Account Access Request Based on the
                    Response” (’271 patent) ........................................................................................ 13

                       1. “Transaction processing module” is subject to § 112(f). ........................... 14

                       2. “A processor configured to verify the authenticity of the account
                          access request based on the response” is subject to § 112(f). .................... 16

                       3. The “transaction processing module…, wherein the transaction
                           processing module: …determines the authenticity of the
                          transaction based on the recognition of the occurrence of the
                          event” and “processor configured to verify…” limitations are
                          indefinite. .................................................................................................... 18

            E.      “Continues Processing the Transaction” / “Processing the Transaction
                    ” (’360 patent) ....................................................................................................... 20

            F.      “Incoming Information Associated With a Transaction” (’360 patent)................ 22

            G.      “Device” (’271 patent) .......................................................................................... 24

            H.      “Identifying / Identify a Second Device Associated With the Account”
                    (’271 patent) .......................................................................................................... 26

            I.      “[Over a] Network” (’271 patent) ......................................................................... 28

                                                                           i
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 3 of 38 PageID #: 2021




        J.    “A Processor Configured to Identify a Second Device Associated With
              the Account ” (’271 patent)................................................................................... 29
      IV.     CONCLUSION ..................................................................................................... 30




                                                                 ii
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 4 of 38 PageID #: 2022



                                               TABLE OF AUTHORITIES

                                                                                                                          Page(s)

      Cases

      Alice Corp. Pty. Ltd. v. CLS Bank Int’l,
          134 S. Ct. 2347 (2014) ...................................................................................................6

      Aristocrat Techs. Australia Pty Ltd. v. Int’l Game Tech.,
          521 F.3d 1328 (Fed. Cir. 2008)....................................................................................17

      Brookhill-Wilk 1, LLC. v. Intuitive Surgical, Inc.,
         334 F.3d 1294 (Fed. Cir. 2003)..........................................................................2, 25, 26

      Eon Corp. IP Holdings LLC v. Silver Spring Networks, Inc.,
         815 F.3d 1314 (Fed. Cir. 2016)............................................................................ passim

      Indacon, Inc. v. Facebook, Inc.,
         No. 2015-1129, 2016 WL 3162043 (Fed. Cir. June 6, 2016) .............................. passim

      Inventio AG v. ThyssenKrup Elevator Americas Corp.,
          649 F.3d 1350 (Fed. Cir. 2011)..............................................................................17, 18

      Kraft Foods, Inc. v. Int’l Trading Co.,
         203 F.3d 1362 (Fed. Cir. 2000)....................................................................................12

      Lear Siegler, Inc. v. Aeroquip Corp.,
         733 F.2d 881 (Fed. Cir. 1984)......................................................................................24

      Nautilus, Inc. v. Biosig Instruments, Inc.,
         134 S. Ct. 2120 (2014) ...............................................................................20, 22, 28, 29

      Net MoneyIN, Inc. v. VeriSign, Inc.,
         545 F.3d 1359 (Fed. Cir. 2008)..............................................................................17, 29

      O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co.,
         521 F.3d 1351 (Fed. Cir. 2008)............................................................................ passim

      Phillips v. AWH Corp.,
         415 F.3d 1303 (Fed. Cir. 2005) (en banc)............................................................ passim

      Power–One, Inc. v. Artesyn Techs., Inc.,
         599 F.3d 1343 (Fed. Cir. 2010)..............................................................................24, 26

      Teva Pharm. USA, Inc. v. Sandoz, Inc.,
         135 S. Ct. 831 (2015) .....................................................................................................3



                                                                    iii
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 5 of 38 PageID #: 2023



      Williamson v. Citrix Online, LLC,
         792 F.3d 1339 (Fed. Cir. 2015) (en banc)............................................................ passim

      Statutes

      35 U.S.C. § 112(b) ..................................................................................................... passim

      35 U.S.C. § 112(f) ...................................................................................................... passim




                                                                    iv
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 6 of 38 PageID #: 2024



      I.      INTRODUCTION

              Defendants ZB, N.A. (f/k/a Amegy Bank, N.A.), LegacyTexas Bank, Southside

      Bancshares, Inc., Southside Bank, Texas Capital Bank, N.A., and Texas Capital

      Bancshares, Inc. (collectively, “Defendants”) respectfully submit this brief in support of

      their proposed constructions of disputed terms and phrases in the asserted claims of

      United States Patent Nos. 7,904,360 (“the ’360 patent”) and 8,589,271 (“the ’271

      patent”).      The ’360 patent discloses a way to verify a transaction using two

      communications links to help ensure that the transaction is not fraudulent. Similarly, the

      ’271 patent purports to relate to fraud prevention and fraud warning notifications,

      particularly in remote or electronic transmissions where it is desirable to verify a party’s

      identity before concluding the transaction and to provide notice that the transaction has

      occurred. For a more detailed analysis of the technology in issue, Defendants refer the

      Court to their Technology Tutorial submitted on May 31, 2016.

              To avoid actually defining the claim scope at issue, Plaintiff St. Isidore Research,

      LLC (“Plaintiff”) urges “plain and ordinary” meaning for all terms except one. But there

      are, in fact, disputes about the scope of the claims, and Defendants’ proposed

      constructions resolve those disputes consistent with the intrinsic evidence (or lack

      thereof).

      II.     LAW OF CLAIM CONSTRUCTION

              Defendants recognize that the Court is well-aware of the canons of claim

      construction and the controlling decision of Phillips v. AWH Corp., 415 F.3d 1303 (Fed.

      Cir. 2005) (en banc), which reaffirmed the primary importance of the specification and

      prosecution history in construing patent claims.           Defendants therefore limit this

      discussion to the particular legal principles of claim construction at issue in this dispute.

                                                    1
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 7 of 38 PageID #: 2025



              A.     Ordinary and Customary Meaning

              In cases where words have common meanings, a “determination that a claim term

      ‘needs no construction’ or has the ‘plain and ordinary meaning’ may be inadequate when

      a term has more than one ‘ordinary’ meaning or when reliance on a term’s ‘ordinary’

      meaning does not resolve the parties’ dispute.” O2 Micro Int’l Ltd. v. Beyond Innovation

      Tech. Co., 521 F.3d 1351, 1361 (Fed. Cir. 2008) (holding that where parties dispute the

      scope of an asserted patent claim, it is a question of law for the Court to decide). That

      being said, the Court need not “attempt the impossible task of resolving all questions of

      meaning with absolute, univocal finality.” Eon Corp. IP Holdings LLC v. Silver Spring

      Networks, Inc., 815 F.3d 1314, 1318 (Fed. Cir. 2016). The Court’s duty is simply to

      resolve the parties’ disputes about claim scope. Id.

              B.     Intrinsic v. Extrinsic Evidence

              Plaintiff’s repeated reliance on online dictionaries is misplaced. In Phillips, the

      Federal Circuit explicitly rejected the “dictionary first” approach to claim construction

      and affirmed the primacy of the intrinsic record as the guide for determining the intended

      meaning of claim language. Phillips, 415 F.3d at 1318-19, 1320-21. When dictionaries

      are consulted, they have to be contemporaneous to the patent. Brookhill-Wilk 1, LLC. v.

      Intuitive Surgical, Inc., 334 F.3d 1294, 1300 (Fed. Cir. 2003) (finding dictionaries “not

      contemporaneous with the patent” “do not reflect the meanings that would have been

      attributed to the words in dispute by persons of ordinary skill in the art as of the grant of

      the . . . patent” and have no place in a proper claim construction analysis).




                                                    2
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 8 of 38 PageID #: 2026



                 Moreover, Plaintiff’s dependence on the proffered expert declaration of Dr.

      Traynor is also improper.            Dkt. 148-1. 1 Although claims are interpreted from the

      perspective of a person of ordinary skill in the art, “experts cannot be used to prove the

      proper or legal construction of any instrument of writing.” Teva Pharm. USA, Inc. v.

      Sandoz, Inc., 135 S. Ct. 831, 841 (2015). Dr. Traynor’s conjecture and conclusory

      statements that a person of ordinary skill would have understood certain claim terms to

      mean Plaintiff’s construction are not proper evidence of how the disputed terms should

      actually be construed. See Phillips, 415 F.3d at 1327 (identifying permissible extrinsic

      evidence as “relevant scientific principles, the meaning of technical terms, and the state

      of the art”).

                 C.       Means Plus Function Claims

                 Claims that do not include the word “means” are rebuttably presumed not to

      invoke 35 U.S.C. § 112(f), but Plaintiff’s argument that this is a strong presumption is

      just wrong.         The Federal Circuit’s decision in Williamson v. Citrix Online, LLC

      “expressly overrule[d] the characterization of that presumption as ‘strong.’” 792 F.3d

      1339, 1349 (Fed. Cir. 2015) (en banc). The court further stated that no “heightened

      evidentiary showing” is required to rebut the presumption. Id.

                 The relevant standard is “whether the words of the claim are understood by

      persons of ordinary skill in the art to have a sufficiently definite meaning as the name for

      structure.” Id. To overcome the presumption, Defendants must demonstrate “that the

      claim term fails to ‘recite sufficiently definite structure’ or else recites ‘function without

      reciting sufficient structure for performing that function.’” Id.


      1
          The Traynor declaration was untimely submitted in violation of the Local Patent Rules. See Dkt. 154.



                                                            3
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 9 of 38 PageID #: 2027



              Importantly, words other than “means” can similarly indicate the claim language

      is functional and does not recite sufficient structure to avoid § 112(f). For example, the

      claim term at issue in Williamson was “distributed learning module.”             The court

      explained,

                     “Module” is a well-known nonce word that can operate as a
                     substitute for ‘means’ in the context of § 112(f). As the
                     district court found, “module is simply a generic
                     description for software or hardware that performs a
                     specified function.” Generic terms such as “mechanism,”
                     “element,” “device,” and other nonce words that reflect
                     nothing more than verbal constructs may be used in a claim
                     in a manner that is tantamount to using the word “means”
                     because they “typically do not connote sufficiently definite
                     structure” and therefore may invoke § 112(f).

      Id. at 1350.

              Construing a claim under § 112(f) is a two-step process. First, the court identifies

      the claimed function. Id. at 1351. Second, the court determines, “what structure, if any,

      disclosed in the specification corresponds to the claimed function.” Id. “Where there are

      multiple claimed functions, as we have here, the patentee must disclose adequate

      corresponding structure to perform all of the claimed functions.”           Id. at 1351-52

      (emphasis added).      If the specification does not disclose adequate corresponding

      structure, the claim is indefinite. Id. at 1352. Corresponding structure is adequate “if the

      intrinsic evidence clearly links or associates that structure to the function recited in the

      claim.” Id. If the specification discloses that the claimed function is performed by a

      programmed general purpose computer, “the specification must disclose an algorithm for

      performing the claimed function.” Id.




                                                   4
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 10 of 38 PageID #: 2028



      III.    CONSTRUCTION OF THE DISPUTED CLAIM TERMS

              A.       “Communications Link” (’360 patent)

     Term                Defendants’ Proposal      Plaintiff’s Proposal
     communications      plain and ordinary        “a medium that may operate on networks having near
     link                meaning                   universal, worldwide availability and high reliability,
                                                   such as World Wide Web, public switched telephone
                                                   network (PSTN), wireless networks, Instate
                                                   Messaging services, short message service (SMS) and
                                                   other wireless text messaging, fax, paging, electronic
                                                   mail, etc.”

              Remarkably, the only claim term for which Plaintiff proposes a construction—

      “communications link”—is the one disputed term for which ordinary meaning was used

      by the patentee. The specification and prosecution history of the ’360 patent are both

      devoid of any explanation as to a unique meaning or usage of communications link. By

      simply incorporating the term, the patentee indicated an intent that it be used as

      understood by a person of ordinary skill in the art at the time.

              Plaintiff’s newfound construction, however, is inconsistent with that understood

      plain and ordinary meaning. Indeed, the only requirement of Plaintiff’s construction is “a

      medium.”       The remainder of the construction follows the permissive “may” or the

      exemplary “such as.”      This is no construction at all.       Plaintiff’s construction also

      misapplies the specification’s exemplary teachings. At the outset, the “near universal,

      worldwide availability and high reliability” language of Plaintiff’s construction modifies

      “networks,” not communications link, see ’360 patent, 12:5-9, and the ambiguity of this

      language is entirely unhelpful for a jury. Although Plaintiff cites other examples of what

      may constitute a communications link, it offers no explanation for why it chose certain

      examples for its construction and not others. See id. at 9:47-50, 12:5-9, 12:64-13:4.




                                                    5
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 11 of 38 PageID #: 2029



              On the other hand, Defendants’ evidence establishes such plain and ordinary

      meaning to be a connection for transferring data or signals. See Ex. A, Microsoft

      Computer Dictionary, Fifth Edition (2002), at 113; Ex. B, Newton’s Telecom Dictionary,

      Seventeenth Edition (2001), at 162. This simple, straightforward meaning is what a

      person of ordinary skill in the art at the time would understand the term to mean.

              Plaintiff’s invocation of carrier pigeons and smoke signals is a blatant attempt to

      misdirect the Court on the claim construction issues. In fact, the parties do not dispute

      that the claims are limited to “computer implemented” systems and methods. E.g., ’360

      patent, 31:48-49, 33:50-51, 36:15-17. Whether “communications link” as used by the

      ’360 patent impacts the question of subject matter eligibility under Alice Corp. Pty. Ltd.

      v. CLS Bank Int’l, 134 S. Ct. 2347 (2014) is independent of what construction of the term

      is appropriate. Neither side argued that claim construction was needed for the Court to

      resolve certain § 101 motions, and those motions were (and are) fully briefed and ripe for

      determination well before the parties engaged in claim construction exchanges. This type

      of line-blurring is exactly what the Federal Circuit cautioned against as beyond the

      Court’s task at claim construction. Eon, 815 F.3d at 1319 (court “should not resolve

      questions that do not go to claim scope”). The intrinsic evidence does not indicate a

      special or defined meaning of “communications link” and, thus, the plain and ordinary

      meaning of the term is the warranted construction.        Phillips, 415 F.3d at 1312-13

      (internal citations omitted).




                                                   6
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 12 of 38 PageID #: 2030



              B.     “Transaction” (’360 patent)

     Term            Defendants’ Proposal                                  Plaintiff’s Proposal
     transaction     an exchange of information between two parties that   no construction needed / plain
                     is distinct from logging into the system              and ordinary meaning

              The parties dispute the meaning of “transaction” in the context of the ’360 patent

      and, thus, construction of the term is required. See Eon, 815 F.3d at 1318; O2 Micro, 521

      F.3d at 1362. Defendants believe that, while a transaction may encompass commercial

      (e.g., financial) and non-commercial (e.g., emergency authorization) exchanges of

      information, the ’360 patent distinguishes between those types of exchanges and a user

      logging into the claimed system to then perform such information exchanges. In contrast,

      Plaintiff’s construction is impermissibly broad enough to include every possible

      interaction or exchange of information, including the simple act of logging into the

      claimed system.

              The intrinsic evidence shows that a transaction can be many things, but it cannot

      encompass simply logging into the claimed transaction processing system. First, the

      specification distinguishes between a “transaction” and logging into the claimed system.

      The ’360 patent states:

              “Rule, Profile, Script, Communication Sequence Pattern, and Message
              Template Management

              Prior to first use of the preferred embodiment of the inventive system, at
              least one entry is required in each of its various database views [FIG. 5-
              FIG. 8] (excluding the Group view), representing a default Rule Set, Party
              Profile, Communication Sequence Pattern, Action Script, and Message
              Template for at least one type of transaction and at least one party from
              one RTE [1]. Such data entry may be performed by an operator of the CS
              [2] through a means such as a web-browser-based interface, as shown
              in FIG. 1 [251: “User Web Client”] . . . .

              An authorized user may log into the inventive system and, upon being
              granted access thereby, may view data and log records related to his


                                                   7
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 13 of 38 PageID #: 2031



                account and edit his/her Profile and select from among predefined
                Communication Sequence Patterns.

      ’360 patent, 31:10-31 (emphasis added). In other words, the ’360 patent explicitly

      distinguishes between logging into the claimed system through the User Web Client and

      the transaction that is initiated by the Remote Traction Engine (“RTE”).                         Thus,

      Defendants’ construction is wholly consistent with the specification, including Plaintiff’s

      alleged support. See Dkt. 148 at 10 (citing ’360 patent, 3:35-37, 6:25-27). Indeed,

      Defendants’ construction does not exclude any embodiments and, thus, is in complete

      agreement with Plaintiff’s recognition that the exclusion of embodiments is “rarely, if

      ever, correct.” Id. at 9-10.2

                In addition, the asserted claims themselves confirm that “transaction” cannot be

      expansively interpreted to include logging into the claimed system—otherwise, the

      claims make no sense. For example, claim 1 of the ’360 patent is directed to a “system

      for providing a transaction” that authenticates a transaction based on a verification

      request and then “continues processing the transaction.” Under Plaintiff’s broad reading

      of “transaction,” once a user is logged into the claimed system, the transaction is

      complete and there is no need for the system to “continue[] processing the transaction” as

      required by claim 1. As such, Plaintiff’s unlimited construction yields a nonsensical

      result.

                Plaintiff also misconstrues the portion of the specification related to emergency,

      non-commercial transactions. See Dkt. 148 at 10. The ’360 patent discloses that some


      2
        To the extent there is any confusion, Defendants would be fine amending their construction to read “an
      exchange of information between two parties or devices that is distinct from logging into the system”—
      such a modification moots Plaintiff’s imaginary concerns about excluding “nearly all of the embodiments
      in the specification.” See Dkt. 148 at 10.



                                                         8
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 14 of 38 PageID #: 2032



      transactions, by their nature and their parties can “indicate[] an emergency situation, such

      as an authorization transaction (non-commercial in nature) regarding the entry by some

      party to a restricted or secured area or system.” ’360 patent, 28:11-15. This passage,

      however, contemplates emergency situations warranting an “endless cycle of

      communication attempts … such that the inventive system will attempt to establish

      contact with a party indefinitely, until successful.” Id. This disclosure makes no sense if

      read to cover logging onto the “inventive system” itself. Any user requesting access to

      that system would be expected to respond as part of the requested access. This part of the

      specification, therefore, can only be referring to emergency access to restricted or secured

      areas or systems that are not the claimed system, and cannot be twisted to encompass the

      regular occurrence of a user logging in to the user’s own account system.

              Plaintiff also omits the ’360 patent’s unambiguous teaching that, in the context of

      commercial transactions, “passwords and ID codes” (i.e., information typically associated

      with the logging into a system) are a weakness and limitation of the prior art and “are not

      commonly used, supported and enforced by merchants for credit card purchases.” ’360

      patent, 6:34-53. Tellingly, Plaintiff does not provide any argument that the ’360 patent

      teaches that the opposite would be true for non-commercial transactions as discussed in

      column 28 of the ’360 patent—because there is no such support.

              Plaintiff’s alternative construction fails to resolve the dispute over whether a

      “transaction,” in the context of the ’360 patent, can include simply logging into the

      claimed system. Given Plaintiff’s primary position of no construction necessary and its

      litigation positions to date (e.g., complaint allegations), it is clear Plaintiff intends to

      argue that a transaction can include logging into, for example, an online banking system.



                                                   9
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 15 of 38 PageID #: 2033



      But that is wholly inconsistent with the claims, which require continued processing after

      the authenticating step, and the specification, which distinguishes logging into the

      claimed system (not a transaction) from, for example, executing a balance transfer (a

      transaction).

              C.      “Recognizes an Occurrence of an Event” / “Recognizing, by a
                      Computer, an Occurrence of an Event” (’360 patent)

     Term                                         Defendants’ Proposal                Plaintiff’s Proposal
     recognizes an occurrence of an event /       recognizes, via the second          no construction
     recognizing, by a computer, an               communication link(s), the result   needed / plain and
     occurrence of an event                       of the verification request         ordinary meaning

              The parties dispute the meaning of “recognizes the occurrence of an

      event”/“recognizing, by a computer, an occurrence of an event” in the context of the ’360

      patent and, thus, construction of the term is required. See Eon, 815 F.3d at 1318; O2

      Micro, 521 F.3d at 1362.

              Defendants’ construction accurately reflects the only disclosed manner in which

      the claimed transaction processing module “recognizes the occurrence of an event”—via

      the second communications link or links. See, e.g., ’360 patent, Fig. 3; 12:41-46. The

      specification describes the parties who are sent verification requests as being in

      “Confirm” roles. See, e.g., id. at 22:7-22, Fig. 25. Parties in “Confirm” roles provide

      input via the individual communication device by which they were contacted. See id. at

      12:41-44 (“A confirming action or actions may be performed by said party via said

      communications      link,   using       a   means      appropriate   to   his/her   corresponding

      communications device.”). Notably, “[t]he form of input depends on the nature of the

      communication device and medium.” Id. at 26:42-43. The only reason why the form of

      this responsive input would depend on the nature of the communication device and

      medium would be if the responsive input was also performed via the secondary

                                                        10
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 16 of 38 PageID #: 2034



      communication channel, which is consistent with all figures. E.g., ’360 patent, Fig. 3.

      Indeed, the purported benefit of requiring responsive input via the second

      communications link is that, in the case of a fraudulent transaction performed over the

      first communications link, “the fraudulent owner/user will be physically unable to

      authenticate   him/herself    using    the   communications       device   found     at   said

      communications address.” Id. at 11:7-17 (emphasis added).

              Defendants are not reading limitations from the specification into the claims.

      Rather, as instructed by Phillips, “the person of ordinary skill in the art is deemed to read

      the claim term not only in the context of the particular claim in which the disputed term

      appears, but in the context of the entire patent, including the specification.” 415 F.3d at

      1313. In the ’360 patent, the entirety of the specification discloses that the recognition of

      the occurrence of an event is accomplished with a secondary communication link or

      links, and a person of ordinary skill in the art would read the claim in this context.

              Moreover, Plaintiff erroneously argues that Defendants’ construction excludes

      most embodiments disclosed in the specification. Taking each cited example in turn,

      Defendants’ proposed construction encompasses dependent claims 11 and 42, because an

      “absence of a response, via the one or more second communications links” means that the

      result of the verification request—an absence of a response within a predetermined time

      period—was recognized via the second communications link.              See Dkt. 148 at 11.

      Second, Defendants’ construction also encompasses “allow[ing] said communications to

      occur over a plurality of communications media and/or communications links” as

      Defendants’ construction supports each one of these communications media and/or

      communications links being a secondary communication link. See id. (citing ’360 patent,



                                                   11
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 17 of 38 PageID #: 2035



      8:48–52); see also id. at Fig. 3 (various communication links 511-525+).              Third,

      Defendants’ construction reflects the specification at 21:54-62 for the same reason—each

      communication link disclosed is a secondary link to a party of interest. See Dkt. 148 at

      12.

              Finally, Defendants’ proposed construction does not run afoul of the doctrine of

      claim differentiation. The presumption of claim differentiation “does not mean that every

      limitation must be distinguished from its counterpart in another claim, but only that at

      least one limitation must differ.” Kraft Foods, Inc. v. Int’l Trading Co., 203 F.3d 1362,

      1368 (Fed. Cir. 2000) (citation omitted). As the Federal Circuit recently reiterated,

      “[a]lthough claim differentiation is a useful analytic tool, it cannot enlarge the meaning of

      a claim beyond that which is supported by the patent documents, or relieve any claim of

      limitations imposed by the prosecution history.” Indacon, Inc. v. Facebook, Inc., No.

      2015-1129, 2016 WL 3162043, at *4 (Fed. Cir. June 6, 2016) (internal quotations

      omitted).

              For example, claim 11 recites two distinct limitations: (1) the occurrence of the

      event comprises an absence of a response that occurs within a predetermined time period;

      and (2) the absence of a response is via the one or more second communications links.

      See ’360 patent, 32:28-31. Because the intrinsic evidence makes clear that any result of a

      verification request is recognized via the second communications link or links, the

      limitation of dependent claim 11 that is distinguished from claim 1 is that the absence of

      a response occurs within a predetermined time period. Likewise, the relevant limitation

      of dependent claim 12 that is distinguished from claim 1 is that responsive

      communication occurs within a predetermined time period—not that the response is “via



                                                   12
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 18 of 38 PageID #: 2036



      the one or more second communications links.” Id. at 32:32-36. In each of claims 11

      and 42 and claims 12 and 43, there is at least one limitation that is different than in claim

      1 and, as such, claim differentiation is inapplicable here.

              D.     “Transaction Processing Module” (’360 patent)/“A Processor
                     Configured to Verify the Authenticity of the Account Access Request
                     Based on the Response” (’271 patent)

     Term            Defendants’ Proposal                                    Plaintiff’s Proposal
     transaction     35 U.S.C. § 112 (f)                                     No construction needed / plain
     processing                                                              and ordinary meaning.
                     Function:
     module
                     receives, via the first communications link,            Alternatively, to the extent it
                     incoming information associated with a transaction;     requires a construction:
                                                                             hardware and/or software
                     identifies at least one party associated with the
                                                                             component that processes a
                     transaction, wherein the at least one party is
                                                                             transaction, such as a web e
                     authorized to verify the transaction and is a non-
                                                                             commerce server, banking
                     merchant with respect to the transaction;
                                                                             transaction system, or credit
                                                                             card authorization or risk
                     transmits, via the one or more second
                                                                             assessment system or device
                     communications links, a verification request to the
                     at least one party to verify the transaction, wherein   Alternatively, to the extent it
                     the one or more second communications links are         requires a construction and if
                     different from the first communications link;           the Court construes it as a
                                                                             means-plus-function term:
                     recognizes an occurrence of an event;                   Function:
                     determines authenticity of the transaction based on     Processes a transaction and
                     the recognition of the occurrence of the event; and     communicates via a first
                                                                             communications link and one
                     continues processing the transaction initiated over     or more second
                     the first communications link                           communications links
                                                                             Structure:
                     Structure:                                              Hardware and/or software
                     The “determines authenticity of the transaction         component that includes a
                     based on the recognition of the occurrence of the       remote transaction engine,
                     event” function is indefinite under 35 U.S.C.           such as a web e-commerce
                     § 112(b).                                               server, banking transaction
                                                                             system, or credit card
                                                                             authorization or risk
                                                                             assessment system or device.
     a processor     35 U.S.C. § 112(f)                                      no construction needed / plain
     configured to                                                           and ordinary meaning
                     Function:
     verify the
                     verify the authenticity of the account access request
     authenticity
                     based on the response
     of the
     account

                                                      13
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 19 of 38 PageID #: 2037



     access          Structure:
     request based   indefinite under 35 U.S.C. § 112(b)
     on the
     response

              These two terms are subject to § 112(f), and both terms are indefinite because the

      specification fails to recite adequate corresponding structure for the claimed function. In

      particular, the specification does not disclose any algorithm for “determining the

      authenticity of the transaction based on the recognition of the occurrence of the event” or

      “verify[ing] the authenticity of the account access request based on the response.”

      Rather, the specification simply discloses that the claimed system or method checks to

      see whether a user’s input is required, but does not explain how the authenticity is

      determined based on that received input.

                     1.      “Transaction processing module” is subject to § 112(f).

              The specification does not use the term “transaction processing module,” and the

      intrinsic record does not suggest that the term is the name for structure. In fact, the

      term’s complete lack of structure is confirmed by Plaintiff’s own brief.           Plaintiff

      erroneously argues that the term “transaction processing module” does not require a

      construction because its meaning is clear from the functions recited by the claims

      themselves. For example Plaintiff argues that the term is readily understood because the

      claimed transaction processing module performs the functions of processing a transaction

      and communicating via communication links, which further include five additional

      functions: (1) “receiving incoming transaction information,” (2) “identifying a party to

      the transaction,” (3) “transmitting a verification request,” (4) “recognizing the occurrence

      of an event,” and (5) “continuing the processing of the transaction.” Dkt. 148 at 14. But

      whether “transaction processing module” can be understood in terms of the functions it


                                                    14
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 20 of 38 PageID #: 2038



      performs is not the test. The test is whether the claim recites a structure, and Plaintiff

      identifies no such structure in the claims themselves.

              Alternatively, Plaintiff argues that “transaction processing module” should be

      construed as “hardware and/or software that processes a transaction.” Dkt. 148 at 14.

      This is the same phrasing the Williamson court used to illustrate when the word “module”

      failed to recite adequate structure: “‘module’ is simply a generic description for software

      or hardware that performs a specified function.” 792 F.3d at 1350 (“[T]he word ‘module’

      does not provide any indication of structure because it sets forth the same black box

      recitation of structure for providing the same specified function as if the term “means”

      had been used.”). The adjacent words of the claim in Williamson, “‘distributed learning

      control’ do[] not import structure to the term ‘module.’ These words do not describe a

      sufficiently definite structure.” Id. The core problem for the court was that “nothing in

      the specification or prosecution history [lead the court] to construe that expression as the

      name of a sufficiently definite structure as to take the overall claim limitation out of the

      ambit of § 112(f).” Id. Like Williamson, the claims of the ’360 patent recite the nonce

      word “module” to claim a black box that performs a number of transaction processing

      functions recited by the claim.

              In addition, Plaintiff’s proposed non-limiting examples of hardware and/or

      software components—“such as a web e-commerce server, banking transaction system,

      or credit card authorization or risk assessment system or device”—cannot be construed to

      import any structure into the claim. These are examples of a remote transaction engine

      (“RTE”), but the RTE does not perform any of the functions recited by claim 1. Rather,

      the specification teaches that RTE initiates the transaction by communicating with the



                                                  15
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 21 of 38 PageID #: 2039



      Central System over a first communication link, ’360 patent, 15:4-10, and the Central

      System is then responsible for communicating over a second communication link and

      performing each of the “transaction processing module” functions recited by the claims.

      See, e.g., ’360 patent, 11:59-13:13. Moreover, the specification clearly teaches that the

      disclosure of the RTE does not impose any structural limits on the claims:

                     The sole requirement of the RTE [1] is to be able to provide
                     a data message via an application programming interface
                     [11] (“API”) means, predefined specification means, or
                     other equivalent means to the Central System [2] (“CS”) of
                     the embodiment of the invention, via any one of several
                     standard communications protocols over a communication
                     link or network [31].

      ’360 patent, 15:4-10 (emphasis added). The specification’s disclosure of the RTE cannot

      provide any structure for construing the claimed transaction processing module.

              The term “transaction processing module” uses the word “module” to generally

      refer to any hardware or software for performing the various claimed transaction

      processing functions and does not reasonably convey any specific structure to anyone.

      Section 112(f) therefore applies.

                     2.     “A processor configured to verify the authenticity of the
                            account access request based on the response” is subject to
                            § 112(f).

              The claimed “processor configured to verify the authenticity of the account access

      request based on the response” also fails to communicate a sufficiently definite meaning

      as the name for a structure. Like “transaction processing module,” the patentee used

      “processor configured to” to denote any combination of hardware and/or software for

      performing the recited verifying function. A generic computer processor by itself cannot

      recite structure adequate to avoid § 112(f) “because of the wide variety of types and

      classes of computers in existence, each being configurable in a variety of different ways

                                                  16
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 22 of 38 PageID #: 2040



      using many different programming languages.” Net MoneyIN, Inc. v. VeriSign, Inc., 545

      F.3d 1359, 1366 (Fed. Cir. 2008) (concluding that recitation of “bank computer” was not

      sufficient to avoid application of § 112(f)). “The point of the requirement that the

      patentee disclose particular structure in the specification and that the scope of the patent

      claims be limited to that structure and its equivalents is to avoid pure functional

      claiming.” Aristocrat Techs. Australia Pty Ltd. v. Int’l Game Tech., 521 F.3d 1328, 1333

      (Fed. Cir. 2008) (concluding that disclosure of “any standard microprocessor base [sic]

      gaming machine [with] appropriate programming” was insufficient structure to avoid

      pure functional claiming).

              Here, claim 19’s recitation of a “processor configured to” amounts to pure

      functional claiming. The claim itself places no limit on the physical structure of the

      processor, or its relation to any other component of the claimed “system for

      authenticating a device.” In addition, the specification does not provide any support for a

      construction of “a processor configured to verify…” that includes any specific structure.

      For example, the ’271 patent explains that the Central System includes one or more

      processors, memories and data storage, software, an operating system, and a database.

      ’271 patent, 16:1-21.    In short, the Central System is a generic computer, and the

      specification provides no indication of how the “processor configured to verify…” relates

      structurally to, or communicates with, the other computer components in the Central

      System.

              In this way, the claimed “processor configured to verify…” is different from the

      “computing unit” found to avoid § 112(f) in Inventio AG v. ThyssenKrup Elevator

      Americas Corp., 649 F.3d 1350 (Fed. Cir. 2011). To begin, Inventio applied the “strong



                                                  17
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 23 of 38 PageID #: 2041



      presumption” against the application of § 112(f) that Williamson expressly overruled.

      See Inventio, 649 F.3d at 1358. In addition, the structure of the computing unit at issue

      was specified in the claims by its structural relationships to other components of the

      claimed system. Id.

              Because the claims and specification of the ’271 patent recite no such structural

      relationships, the “processor configured to verify…” limitation does not limit the

      combinations of hardware and software for performing the claimed function, and § 112(f)

      applies.

                     3.      The “transaction processing module…, wherein the
                             transaction processing module: …determines the authenticity
                             of the transaction based on the recognition of the occurrence of
                             the event” and “processor configured to verify…” limitations
                             are indefinite.

              These limitations are indefinite because the specification does not disclose

      adequate corresponding structure for these functions. At the outset, claim 1 of the ’360

      patent recites a series of functions performed by the claimed transaction processing

      module, including “determines authenticity of the transaction based on the recognition of

      the occurrence of the event.” Accordingly, the specification must disclose adequate

      corresponding structure for this limitation. Williamson, 792 F.3d at 1351-52. And

      because this function of claim 1 of the ’360 patent is very similar to the “verify the

      authenticity of the account access request based on the response” in claim 19 of the ’271

      patent, the same portions of the specification are relevant to both claim limitations.

              As discussed above, these functions of determining or verifying authenticity are

      performed by the Central System. E.g., ’360 patent, 11:59-13:13. And the Central

      System is simply a generic computer with generic computer components. ’360 patent,

      15:40-60; ’271 patent, 16:1-21. Because the specification does not disclose the required

                                                   18
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 24 of 38 PageID #: 2042



      algorithm for performing the determining and verifying authenticity functions, the claims

      are invalid.

               The specification explains that parties to a transaction that are in a Confirm role

      are required to provide an input to authenticate the transaction. ’360 patent, 12:41-44,

      22:7-22. But the specification only describes how the system determines whether an

      input is required and how an input is received. ’360 patent, 22:7-10, 26:38-27:8. And the

      function of receiving the input at the system is required by other limitations of the claims,

      i.e., “recognizes the occurrence of an event” (’360 patent, claim 1) and “a sever

      configured to receive, over a network, a response related to the verification message”

      (’271 patent, claim 19). This disclosure therefore cannot be the required corresponding

      algorithm for the determining and verifying authenticity functions.

               Moreover, the specification does not include any disclosure of what the system

      does with the input or how the input is used to verify the transaction. This failure of

      disclosure is illustrated by Figure 25 of the ’360 patent, which shows that the system

      determines whether an input is required in Box H and then gets and stores the input in

      Box I:




               But Figure 25 does not include any reference to using the input to authenticate a

      transaction or a device and the corresponding text does not include an algorithm setting

      forth how this is done. The claims therefore lack the corresponding structure required by

      § 112(f) and are invalid as indefinite under § 112(b).



                                                   19
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 25 of 38 PageID #: 2043



               E.       “Continues Processing the Transaction” / “Processing the Transaction”
                        (’360 patent)

     Term                                          Defendants’ Proposal             Plaintiff’s Proposal
     continues processing the transaction /        indefinite under 35 U.S.C.       no construction needed / plain
     processing the transaction                    § 112 (b)                        and ordinary meaning

               The ’360 patent does not disclose any information that would allow a POSITA to

      understand the scope of “continues processing the transaction”/“processing the

      transaction” (“processing terms”). Because the ’360 patent provides no information

      supporting these claim terms they are indefinite under any proposed construction.3 See

      Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2124 (2014) (stating that a

      patent must “inform, with reasonable certainty, those skilled in the art about the scope of

      the invention”). Moreover, these terms use words that are highly non-descriptive and

      generic and do not provide any inherent limitations on their scope. Phillips, 415 F.3d at

      1313 (Fed. Cir. 2005) (“The inquiry into how a person of ordinary skill in the art

      understands a claim term provides an objective baseline from which to begin claim

      interpretation.”).

               The specification generally teaches that once a transaction is initiated at the RTE,

      the Central System verifies and/or authenticates the parties and the transaction, and sends

      the results of this process back to the RTE so that the RTE can either continue with the

      transaction or not. See generally ’360 patent, 10:50-11:6, 11:59-12:59, 14:56-15:12.

      And all of the functionality related to the Central System and its links to the RTE and the

      communications devices relates to this authentication and verification, not the underlying
      3
       Plaintiff argues that the ’360 patent provides “numerous” disclosures supporting these terms. Dkt. 148 at
      23. However, Plaintiff does not cite to any specific description for “processing” a transaction. In fact,
      Plaintiff only cites to two sections of the specification and argues that the system or device for processing
      could be a “banking transaction system or credit card authorization or risk assessment system” or a “web e-
      commerce server.” ’360 patent, 8:31-38, 14:56-59. But these sections describe the RTE, and the ’360
      patent does not provide any description of how these systems or devices actually “process” the transaction.



                                                          20
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 26 of 38 PageID #: 2044



      transaction itself. E.g., id. at 17:24-32, 22:7-22 (explaining that Transaction Object is

      constructed from Transaction Message and that processing of Transaction Object ends

      when “Confirm” result is communicated back to RTE). Thus, in the context of the first

      and second communications links to the central system, the specification does not

      provide any indication of what processing the transaction means. And as discussed above

      with respect to the meaning of transaction, if the term is so broad as to include logging

      into the claimed system, “processing” the transaction after authentication and verification

      have occurred does not make any sense.

              Indeed, the dependent claims further illustrate the indefinite nature of these terms.

      Asserted dependent claims 11 and 42 claim that the occurrence of the event comprises

      “an absence of a response, via the one or more second communication links, within a

      predetermined period of time.” But in the situation where there is no authentication of

      the transaction based on the lack of recognition of the occurrence of the event within a set

      period of time, the patent’s complete silence regarding processing the transaction is

      glaring—how does the system “process” the transaction after it was not authenticated?

      The patent does not say.      Nor does Dr. Traynor, who improperly attempts to blur

      “processing” with the prior claim limitation of authenticating the transaction, and does

      nothing to establish that the patent discloses what “processing” means. Dkt. 148-1 at ¶

      29 (citing same passages of the ’360 patent as discussed in n. 4).

              Plaintiff asserts that both the processing terms and the independent term

      “transaction” must be construed using their plain and ordinary meaning. But the

      combined effect of Plaintiff’s broad constructions is a meaningless claim limitation with

      no discernible scope. According to Plaintiff, the processing terms should be construed



                                                   21
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 27 of 38 PageID #: 2045



      as: doing “a series of actions that produce something or that lead to a particular result” in

      the context of “an exchange or interaction between two parties or devices.” Dkt. 148-14

      (Merriam Webster Definition of Process); Dkt. 148 at 13. On its face, doing something,

      in some way, which leads to some result during the interaction between two parties

      provides no meaningful limit on the processing terms’ scope, and, thus, these terms are

      indefinite. Nautilus, 134 S. Ct. at 2124.

              F.         “Incoming Information Associated With a Transaction” (’360 patent)

     Term                  Defendants’ Proposal                                   Plaintiff’s Proposal
     incoming              “a message including at least data fields to:          no construction
     information           1) identify one or more parties                        needed / plain and
     associated with a     2) identify the type of transaction, and               ordinary meaning
     transaction           3) identify the prices or amount of the transaction”

              The parties dispute the meaning of “incoming information associated with a

      transaction” in the context of the ’360 patent and, thus, construction of the term is

      required.      See Eon, 815 F.3d at 1318; O2 Micro, 521 F.3d at 1362.             Defendants’

      construction is taken nearly verbatim from the ’360 patent’s specification. In contrast,

      Plaintiff’s construction ignores the same, unambiguous intrinsic evidence and the

      patentee’s lexicography.

              While Defendants do not dispute that the individual words of this term are

      common, the inventor imparted a specific, unique meaning to the term in the ’360 patent

      that governs here:

              The minimum necessary contents of said Transaction Message are shown
              in FIG. 2. The choice of minimum necessary contents may vary from
              embodiment to embodiment of the inventive system. These data fields and
              values 1) identify the transaction-originating entity [21 a], 2) provide a
              mechanism to authenticate it [21 b], 3) identify one or more parties having
              a potential interest in, involved in, and/or represented to be involved in,
              the transaction [22 a, ff., 22 b, ff.], 4) identify the type of transaction [22
              c], such as a credit card purchase with card-not-present, and 5) identify the
              price or amount of the transaction [22 d] if applicable. . . .

                                                       22
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 28 of 38 PageID #: 2046



              Additional data fields and values may be supplied in the Transaction
              Message….

      ’360 patent, 15:61-16:4 (emphasis added); see also id. at Fig. 2.4

              The ’360 patent contemplates that “[a]dditional data fields and values may be

      supplied in the Transaction Message” that are in addition to the minimum necessary

      contents, but in no embodiment or teaching does the Transaction Message have less than

      the minimum necessary contents. See id. at 16:8-9. Said differently, the “incoming

      information associated with a transaction” can include many things but it must include

      the “minimum necessary contents,” which are reflected in Defendants’ construction (i.e.,

      1) identify one or more parties, 2) identify the type of transaction, and 3) identify the

      price or amount of the transaction). Importantly, the word “and” at 16:3 indicates that the

      third field value, the price or amount of the transaction, is required, even if the value of

      that field is $0.00, such as in a non-commercial transaction. See id. Figure 2 illustrates

      the required, not optional, field values:




      ’360 patent, Fig. 2. Such presence of the minimum field values is important to the ’360

      patent because, otherwise, the Transaction Message is rejected. See id. at 16:37-44.




      4
        The specification and Figure 2 also refer to “Message session establishment/message headers” (e.g., “1)
      identi[t]y of transaction-originating entity [21a and] provide a mechanism to authenticate it [21b]”) as
      “minimum necessary contents” of the Transaction Message. Id. at 15:61-16:4. Those values, however,
      relate to the RTE (e.g., the merchant website environment, see id. at 14:59-60) which is not expressly
      required by the asserted claims of the ’360 patent. Defendants therefore do not propose their inclusion as
      minimum required fields in the construction of “incoming information associated with a transaction.”



                                                         23
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 29 of 38 PageID #: 2047



              Plaintiff’s argument that Defendants are limiting the invention to a single

      embodiment misses the mark. See Dkt. 148 at 20. Defendants are not reading in

      limitations from the specification; rather, Defendants rely on the patentee’s own

      lexicography that dictates the proper construction of the term. See Lear Siegler, Inc. v.

      Aeroquip Corp., 733 F.2d 881, 888 (Fed. Cir. 1984). Defendants’ proposed construction

      should be adopted.

              G.      “Device” (’271 patent)

     Term            Defendants’ Proposal                             Plaintiff’s Proposal
     device          “a physical apparatus, such as a mobile phone,   no construction needed / plain
                     known to be associated with an individual”       and ordinary meaning

              The term “device” is simply too broad not to construe. After all, a printer falls

      under the “plain and ordinary meaning” of “device,” yet that could hardly be what the

      patentee intended. Plaintiff’s absence of a construction provides no guidance to the

      parties or a jury and does not address the parties’ dispute over claim scope. Power–One,

      Inc. v. Artesyn Techs., Inc., 599 F.3d 1343, 1348 (Fed. Cir. 2010) (“The terms, as

      construed by the court, must ensure that the jury fully understands the court's claim

      construction rulings and what the patentee covered by the claims.”).

              Conversely, Defendants’ construction properly considers the claim term in light

      of the specification. See Phillips, 415 F.3d at 1313 (Fed. Cir. 2005) (“We cannot look at

      the ordinary meaning of the term ... in a vacuum. Rather, we must look at the ordinary

      meaning in the context of the written description and the prosecution history.”) (citation

      omitted); see also Indacon, 2016 WL 3162043, at *3 (“We agree with Facebook that

      these terms have no plain or established meaning to one of ordinary skill in the art. As

      such, they ordinarily cannot be construed broader than the disclosure in the

      specification.”). Indeed, Defendants’ construction that a device is a physical apparatus

                                                     24
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 30 of 38 PageID #: 2048



      known to be associated with an individual comports with the specification of the ’271

      patent. See ’271 patent, 2:2 (“computer or other electronic device”).

              In its opening brief, Plaintiff argued that a “device” can be broader than just a

      physical apparatus because the specification purports to teach that term includes, for

      example, a web server or browser-based system or device. See Dkt. 148 at 21-22. But

      Plaintiff misstates the import of the intrinsic evidence. A Web server is a physical

      apparatus, and the specification distinguishes a web-browser from the physical device on

      which the browser runs. Specifically, when the specification refers to the browser, it

      discusses the User Web Client 25, which is a “web browser-based interface.” ’271

      patent, 38:46-51. However, when the specification refers to a physical apparatus that is

      based on a web browser, the specification identifies a “browser-based system or

      device.” ’271 patent, Table 10. Nowhere does the specification suggest that the term

      “device” is so broad as to include anything used to communicate. Rather, the

      specification uses the term to refer to a physical apparatus, consistent with normal usage

      of the term and Defendants’ construction.

              Finally, Plaintiff’s reliance on extrinsic evidence is unavailing. As an initial

      matter, the references cited are not contemporaneous with the patent, and thus should not

      even be considered. See Brookhill-Wilk, 334 F.3d at 1299. Even assuming that Plaintiff’s

      dictionary websites are relevant, they merely prove Defendants’ point that this term

      requires construction. See Dkt. 148-27 (broadly defining “device” to include “an object,

      machine, or piece of equipment that has been made for some special purpose,” “a weapon

      that explodes,” and “something that is done in order to achieve a particular effect”); Dkt.

      148-30 (broadly defining “device” to include, inter alia, “[a] thing made or adapted for a



                                                  25
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 31 of 38 PageID #: 2049



      particular purpose, especially a piece of mechanical or electronic equipment,” “[a] bomb

      or other explosive weapon,” “[t]he design or look of something,” “[a] plan, scheme, or

      trick with a particular aim”).

              The Court should accept Defendants’ proposed construction because it properly

      considers the language of the claims in the light of the specification.

              H.       “Identifying / Identify a Second Device Associated With the Account”
                       (’271 patent)

     Term                             Defendants’ Proposal                             Plaintiff’s Proposal
     identifying / identify a         “selecting a second device based on              no construction needed /
     second device associated         information in the account, the information      plain and ordinary
     with the account                 being specific to the device itself”             meaning

              Plaintiff again refuses to provide a construction for a disputed term, and instead

      argues that no construction is needed or that plain and ordinary meaning is appropriate.5

      That completely ignores the patent’s specification, is of no help to the jury, and only

      serves Plaintiff’s objective of improperly broadening its patent. See Indacon, 2016 WL

      3162043, at *3; Power–One, 599 F.3d at 1348; O2 Micro, 521 F.3d at 1362; Phillips, 415

      F.3d at 1313, 1315.

              Plaintiff argues without explanation or citation to any intrinsic evidence that

      Defendants’ proposed construction is not within the plain and ordinary meaning. But the

      claims specifically state that it is a device that must be identified, and the specification

      consistently draws a distinction between known/predefined devices and their

      corresponding addresses. Accord ’271 patent, 10:54-65, 12:16-19, 20:5-30, 26:48-27:9,

      32:51-55. Said another way, the ’271 patent uses the word “device” to refer to the

      5
       Plaintiff’s myriad and varied examples of extrinsic definitions for the separate words of this term prove
      Defendants’ point: this term needs to be construed. And as discussed supra, the Court should not even
      consider these sources to begin with because they are not contemporaneous with the patent. See Brookhill-
      Wilk 1, 334 F.3d at 1299.



                                                         26
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 32 of 38 PageID #: 2050



      apparatus itself and “address” to refer to the way of communicating with the device.

      Because the patent uses these different words to mean different things, the term device in

      the claims cannot be broad enough to encompass the device’s address. Defendants’

      construction clarifies this limitation within the context of the patent’s disclosure.

              For example, the ’271 patent distinguishes between “one or more predetermined

      communications devices and addresses, such as telephone numbers or wireless SIP

      addresses” clarifying that “device and address information are preferably defined and

      stored in advance in a non-volatile storage or database in the form of a profile associated

      with each such party.”       Id. at 10:42-53.      The patent teaches that both pieces of

      information must be stored in a party’s Communication Profile record so that the party’s

      role can be determined “for the device media type, and address.” Id. at 26:48-65. The

      patent further explains that confirming both the device and the address has advantages

      over other systems: “Communicating with and/or to said party or parties only on

      communications devices having specific predetermined communications addresses

      known to belong to them, as a mechanism of additional authentication and verification.”

      Id. at 13:66-14:3.

              Plaintiff’s attempt to expand “plain and ordinary” meaning of “identifying a

      second device” to include, for example, calling a phone number ignores other claim

      limitations directed to transmitting to the second device, e.g., ’271 patent 39:15-17, and

      contradicts the intrinsic evidence that repeatedly distinguishes the device from the

      number (address). Moreover, Plaintiff’s “plain and ordinary” meaning collapses when

      applied to real-world situations. For example, the system could send a verification

      message to a user’s email address stored in the profile, but how is the claimed system



                                                    27
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 33 of 38 PageID #: 2051



      identifying a second device associated with the account when that email could be read on

      a user’s mobile phone, laptop, work computer, internet café desktop, etc.? The answer is

      clear—it cannot, and Plaintiff has no answers for its improper and expansive view of the

      “plain and ordinary” meaning for this term.

              As such, in order to clarify that a device is distinct from an address associated

      with that device, the Court should accept Defendants’ proposed construction because it

      properly considers the language of the claims in the light of the specification.

              I.        “[Over a] Network” (’271 patent)

     Term                             Defendants’ Proposal           Plaintiff’s Proposal
     [over a] network                 indefinite under 35 U.S.C.     no construction needed / plain and
                                      § 112(b)                       ordinary meaning

              The term “[over a] network” is indefinite under 35 U.S.C. § 112(b) at least

      because it causes the ’271 patent’s claims to “fail to inform, with reasonable certainty,

      those skilled in the art about the scope of the invention.” Nautilus, 134 S. Ct. at 2123.

      For example, claim 1 uses the same term no less than three times: “receiving at a server,

      over a network, an account access request from a first device; … transmitting to the

      second device, over a network, a verification message associated with the account access

      request; receiving, over a network, a response related to the verification message.” Yet it

      is completely unclear how many networks are in play; one, two, three? And whether the

      account access request, the verification message, and the response travel over the same or

      different networks is likewise opaque. Plaintiff’s reliance on its expert’s declaration (see

      Dkt. 148-1 at 10) is of no help, as it is entirely conclusory and fails to explain how the

      specification “inform[s], with reasonable certainty, those skilled in the art about the scope

      of the invention.” Nautilus, 134 S. Ct. at 2123.



                                                    28
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 34 of 38 PageID #: 2052



              Because of the patentee’s choice of claim terms, it is impossible for any entity to

      understand how to avoid potential infringement. This is anathema to the precision

      required of patents, which are required “to afford clear notice of what is claimed, thereby

      apprising the public of what is still open to them in a manner that avoids a zone of

      uncertainty which enterprise and experimentation may enter only at the risk of

      infringement claims.” Id. (citations, internal quotations, and modifications omitted).

      Therefore the Court should find the claims invalid as indefinite.

              J.       “A Processor Configured to Identify a Second Device Associated With
                       the Account ” (’271 patent)

     Term               Defendants’ Proposal                              Plaintiff’s Proposal
     a processor        35 U.S.C. § 112(f)                                no construction needed / plain
     configured to                                                        and ordinary meaning
                        Function:
     identify a
                        identify a second device associated with the
     second device
                        account
     associated with
     the account
                        Structure:
                        indefinite under 35 U.S.C. § 112(b)

              The limitation “a processor configured to identify a second device associated with

      the account” is subject to § 112(f) for the same reasons as the “processor configured to

      verify …” limitation discussed above. This is a purely functional limitation that covers

      any combination of hardware and software that performs the recited function, see Net

      MoneyIN, 545 F.3d at 1366, and neither the claims nor the specification defines any

      structural relationship between this claimed processor and the other components of the

      claimed system. Accordingly, the term does not communicate a sufficiently definite

      meaning as the name for a structure, and § 112(f) applies.

              Under § 112(f), the specification fails to set forth adequate structure

      corresponding to the claimed function of “identifying a second device associated with the

      account,” and the claim is therefore invalid under § 112(b). The specification teaches

                                                      29
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 35 of 38 PageID #: 2053



      that the claimed function is performed by the Central System, a generic computer. ’271

      patent, 10:42-11:10; 16:1-16. The specification therefore must disclose an algorithm for

      “identifying a second device associated with an account.” Williamson, 792 F.3d at 1352.

              The ’271 patent does not disclose such an algorithm. Rather, the specification

      discloses that a Communications Control Layer of the Central System coordinates

      communications with multiple parties and multiple devices. ’271 patent, 26:28-27:16.

      More specifically, the patent explains that “communication devices, addresses, and media

      for the party” are grouped after searching the party’s “Communication Profile record,”

      but the patent does not disclose any algorithm for identifying the party’s communication

      device. Id. at 26:48-55. The claim is therefore invalid under § 112(b).

      IV.     CONCLUSION

              For the foregoing reasons, Defendants respectfully request the Court adopt their

      proposed constructions as set forth above.




                                                   30
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 36 of 38 PageID #: 2054



      Dated: June 21, 2016               Respectfully submitted,

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                                        31
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 37 of 38 PageID #: 2055



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                                        32
      DAL:940713.1
Case 2:15-cv-01390-JRG-RSP Document 156 Filed 06/21/16 Page 38 of 38 PageID #: 2056



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                                  CERTIFICATE OF SERVICE

              This is to certify that a true and correct copy of this document has been served on
      all counsel of record via Local Rule CV-5 on this the 21st day of June, 2016.


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                                                  33
      DAL:940713.1
